Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 1 of 40




                        EXHIBIT 2
        Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 2 of 40



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                      )
ARTHUR M. LOVE,                       )
                                      )
       Plaintiff,                     )
                                      )
               v.                     )      Case   No. 1:21-cv-2029 (RDB)
                                      )      Judge Richard D. Bennett
LARRY HOGAN, et al.,                  )
                                      )
       Defendants.                    )
                                      )


        DECLARATION OF JEFFREY E. MCFADDEN IN SUPPORT OF
   MOTION TO WITHDRAW APPEARANCE AS LOCAL COUNSEL OF RECORD
                      FOR ARTHUR M. LOVE

        1.     My name is Jeffrey Edward McFadden. I am an attorney licensed to practice law

in the State of Maryland and have been a member in good standing of the bar of this Court since

1990. I am above the age of I 8 and, if called upon by the Court, would be competent to testity to

the following facts.

       2.      I am a sole practitioner. The name of my law firm is the Law Offices of Jeffrey

E. McFadden, LLC ("McFaddenlaw").

       3.      Each of the events described below is, unless otherwise indicated, based on my

first-hand knowledge.

       4.      On or about August 9,2021, on the basis of a referral from a Baltimore law firm,

John Pierce, a partner, and Ryan Marshall, an associate, of the PierceBainbridge law   firm

approached me to serve as PierceBainbridge's local counsel in this Court in connection with

PierceBainbridge's engagement by Plaintiff Arthur Love in litigation against the State of

Maryland and other State officials.
        Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 3 of 40



        5.       On August 10,2021, Mr. Marshall provided me with proposed Summonses and a

Complaint, which Messrs. Pierce and Marshall asked that McFaddenlaw file on behalf of Mr.

Love.

        6.       Messrs. Pierce and Marshall also asked that McFaddenlaw move Mr. Pierce's

admission to appear pro hac vice in the case.

        7.       Mr. Marshall informed Mr. McFadden that McFaddenlaw should direct its

engagement letter to PierceBainbridge through Mr. Pierce and that Mr. Pierce would obtain

necessary concuffences from Mr. Love for McFaddenlaw's work as PierceBainbridge's local

counsel.

        8.       Based on these representations, McFaddenlaw hled the Summonses and

Complaint and commenced the instant action on August 11,2027.

        9.       Also, on August 11,2021, I sent Messrs. Pierce and Marshall a form of motion

for admissionpro hac vice that would be acceptable for use in this Court. On August 18,2021,

Mr. Marshall returned that motion to me for filing.

        10.      The Pro Hac Vice Motion requires me and McFaddenlaw to represent to the

Court that Mr. Pierce had "never been disbarred, suspended, or denied admission to practice law

in any jurisdiction." To verify that representation, I undertook necessary due diligence.

        1   1.   While that due diligence did not find records of disbarment, suspension, or denial

of admission, surprisingly, it did find a series of reports regarding Messrs. Pierce and Marshall

and PierceBainbridge. Some of these reports appeared to be scurrilous attacks by litigation

adversaries designed to injure Messrs. Pierce's and Marshall's and PierceBainbridge's

reputation. Several reports also indicated that Mr. Marshall had two counts of fraud pending

against him in the State of Pennsylvania. Other repofts attacked Mr. Pierce and his law     firm's
         Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 4 of 40



character such that the attacks ultimately appeared to lead to Mr. Pierce's and PierceBainbridge's

withdrawal of motions for admission pro hac vice in two cases. This information put me and my

firm on inquiry notice that I needed more information to be able to make a complete

representation to the Court.

         12.     By e-mail dated August24,2027, I advised Mr. Pierce of the results of the due

diligence and expressed concern that these and similar allegations would come to light in the

colrrse of moving for Mr. Pierce's admissionpro hac vice rn the instant            litigation. I thus asked

Mr. Pierce for   a detailed,   written rebuttal of the allegations so that I would be in a position to

respond to similar allegations should they arise in the instant matter.          I stated that, if I were to

proceed with moving Mr. Pierce's admissionpro hac            vice,I needed to be able to demonstrate to

the Courl that I had identified these issues and had assembled an appropriate, truthful, and

convincing response. I ended the communication by stating to Mr. Pierce that if he were unable

to do so, Mr. Pierce should look to other local counsel. A copy of this e-mail is attached             as


Exhibit A.

         13.     On August 30,2021, I forwarded to Mr. Marshall my e-mail to Mr. Pierce dated

August 24,2021. A copy of this e-mail is attached as Exhibit B.

         14.     On September 3, 2021,I sent a letter by electronic and certified mail to Messrs.

Pierce and Marshall stating that      I still had not received   a response   to my inqr"riry to Mr. Pierce

dated   August24,202l, and that the requested response was becoming all the more pressing

giving continued negative press reports concerning Messrs. Pierce and Marshall. The letter

concluded by stating that if I did not receive a response by September 7,2021, I would have to

advise Plaintiff Love of the situation and possibly advise this Court as well. A copy of this letter

is attached as Exhibit C.
       Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 5 of 40



        15.    Later on September 7,2021, Mr. Pierce sent me an e-mail briefly describing the

circumstances surrounding the withdrawal of the pro hac vice motions in two other cases. A

copy of this e-mail is attached as Exhibit D.

        16.    On September 20, 2027 , I sent Messrs. Pierce and Marshall a letter by electronic

and certified mail. The letter stated that I had reviewed Mr. Pierce's e-mail response to my letter

of September 3 and had continued to follow press reports regarding Mr. Pierce's recovery from

an illness and issues that were continuing to linger as to a number of Mr. Pierce's cases. The

letter went on to state that the continuing controversy surrounding the status of Mr. Pierce's firm

and its lawyers had caused me to conclude that     I could not or should not make the required

representations to the Court necessary to proceed with Mr. Pierce's pro hac vice motion

specifically and the instant case generally. The letter thus advised that McFaddenlaw was

withdrawing as local counsel in the instant matter and, for the benefit of Plaintiff, asked that Mr.

Pierce find and substitute in new local counsel. The letter concluded by stating that should Mr.

Pierce and PierceBainbridge be unable to substitute in new local counsel, I would move this

Court to withdraw. A copy of this letter is attached as Exhibit E.

        17.    On September 23,2021,I sent an e-mail to Messrs. Pierce and Marshall to follow

up on my letter of Septemb er 20, 2021   .   The e-mail noted that I had received two voice messages

from Plaintiff Love, that it was apparent to me that Messrs. Pierce and Marshall had not advised

Plaintiff Love of McFaddenlaw's intent to withdraw, and that they needed to do so. The e-mail

also advised Messrs. Pierce and Marshall of the     l2}-day requirement for service of process and

that such service had not yet been effected. A copy of this e-mail is attached as Exhibit F.

        18.    Later that same day, Mr. Pierce responded by e-mail to me, copy to Mr. Marshall,

stating that Mr. Marshall should advise Plaintiff Love of the withdrawal and further stating that
        Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 6 of 40



Mr. Pierce would work on finding new local counsel. A copy of this e-mail is attached        as


Exhibit G.

        19.    On October 24,2021, I sent an e-mail to Messrs. Pierce and Marshall to follow up

on the status of advising Plaintiff Love of McFaddenlaw's intended withdrawal and of finding

new local counsel. A copy of this e-mail is attached as Exhibit      H. Neither Mr.   Pierce nor Mr.

Marshall responded.

        20.    On November       17   ,2027, and in accordance with Local Rule 1 01.2.(a),1 sent, by

electronic and certified mail,   a   Notice of Withdrawal to Plaintiff Love and Messrs. Pierce and

Marshall. A copy of the Notice is attached as Exhibit I.

        21.    Given the approaching deadline for service of the Summonses and Complaint, and

in order to avoid any prejudice to Plaintiff Arthur Love, I am causing the Summonses and

Complaint to be served on Defendants as required by the Federal and Maryland Rules of Civil

Procedure.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on December r,2027




                                                                         Edward McFadden
Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 7 of 40




                       EXHIBIT A
12/1/21, 11:54 AM                                           Mail - Jeffrey McFadden - Outlook
                    Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 8 of 40

       Fw: Love v. Hogan, et al., Motion for Admission Pro Hac Vice
       Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       Wed 12/1/2021 11:47 AM
       To: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       From: Jeffrey McFadden
       Sent: Tuesday, August 24, 2021 11:18 AM
       To: John Pierce <jpierce@piercebainbridge.com>
       Subject: Love v. Hogan, et al., Motion for Admission Pro Hac Vice

       Dear John,

       As you know, your office approached me on the basis of a referral from a Baltimore law firm to serve as
       your local counsel in the U.S. District Court for the District of Maryland in connection with your
       engagement by Mr. Arthur Love in litigation against the State of Maryland and other State officials. On
       August 10, 2021, your associate Ryan Marshall provided me with a proposed Summons and Complaint,
       which you and Ryan asked that I file on behalf of Mr. Love. You and Ryan also asked that I move your
       admission to appear pro hac vice in the case. Ryan informed me that I should direct my engagement
       letter to you and you would obtain necessary concurrences from Mr. Love for my work as his local
       counsel.

       Based on these representations, I filed the Summons and Complaint and commenced the action on
       August 11, 2021. I was not able to file the proposed Pro Hac Vice Motion that you and Ryan had
       originally provided me because it had you moving your own admission, which is not acceptable in this
       court. On August 11, 2021, I sent you and Ryan a form of motion that would be acceptable for use in the
       District of Maryland. On August 18, 2021, Ryan returned that motion to me for filing.

       As you know, the Pro Hac Vice Motion requires me to represent to the Court that you have “never been
       disbarred, suspended, or denied admission to practice law in any jurisdiction.” To verify that
       representation, I undertook necessary due diligence. While I did not find records of disbarment,
       suspension, or denial of admission, surprisingly, I did find a series of reports regarding you and
       PierceBainbridge, some of which appear to be scurrilous attacks by litigation adversaries designed to
       injure your reputation. In particular, a publication calling itself Sunlight Reports appears to have devoted
       itself to attacking you and your firm.

       But beyond Sunlight, we have come across and have reviewed other pleadings or articles concerning two
       pending cases attacking in some way your character and ultimately resulting in a withdrawal of your pro
       hac vice motions.

       The first is an opposition made to your motion for admission pro hac vice in a case captioned Navaid
       Alam, et al. v. Kabir Ahmad, et al. filed in the Supreme Court of the State of New York, County of New
       York. I also saw that your local counsel in that case later filed a Notice of Withdrawal of your pro hac
       motion.

       The second matter concerns allegations made by the prosecutors in the Kyle Rittenhouse case in
       Wisconsin, which again appear ultimately to have led to your local counsel’s withdrawal of your pro hac
       vice motion.

       I have no basis on which to judge these allegations about you. But I am concerned -- indeed have little
       doubt -- that the lawyers representing the Maryland government defendants in the Love v. Hogan case
       will be aware of the withdrawals above and will oppose your Motion on the same or similar grounds,
       irrespective of the fact that I have held off on serving the defendants pending your and my resolution of
https://outlook.office.com/mail/inbox/id/AAMkADc3M2RkMTk4LTU1MmYtNGQwNS1iNmYyLWY1MjMzM2YxMzdkNQBGAAAAAADcbl%2FSQN3uTKp…   1/2
12/1/21, 11:54 AM                                         Mail - Jeffrey McFadden - Outlook
                   Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 9 of 40
       these matters. I am also concerned that the court clerk or court personnel might find these allegations in
       connection with reviewing the pro hac motion. I believe inquiries from the Court would come to me as
       the sponsor of any motion that I file.

       In light of these developments, before I can proceed to file the Pro Hac Motion, I will need you to
       provide me a written rebuttal of the circumstances alleged in the matters described above. This is
       necessary for me to complete my due diligence. If we proceed, I need to be able to demonstrate to the
       court that I identified these issues and have assembled an appropriate, truthful, and convincing response.
        If you are unable to do this, I suggest you look to other local counsel.

       I realize we have an obligation to our client, so it is important that we commence this litigation without
       any impediment to proceeding.


       Sincerely yours,

       Jeff McFadden


       Jeffrey E. McFadden
       Law Offices of Jeffrey E. McFadden, LLC
       312 Prospect Bay Drive East
       Grasonville, MD 21638
       (410) 490-1163
       jmcfadden@jmcfaddenlaw.com




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Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 10 of 40




                        EXHIBIT B
12/1/21, 11:59 AM                                           Mail - Jeffrey McFadden - Outlook
                    Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 11 of 40

       Fw: Love v. Hogan, et al., Motion for Admission Pro Hac Vice
       Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       Wed 12/1/2021 11:52 AM
       To: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       From: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       Sent: Monday, August 30, 2021 11:09 AM
       To: Ryan Marshall <rmarshall@piercebainbridge.com>
       Subject: Fw: Love v. Hogan, et al., Motion for Admission Pro Hac Vice

       Ryan,

       As discussed, here is the e-mail I sent to John.

       All the best.


       Jeff

       Jeffrey E. McFadden
       Law Offices of Jeffrey E. McFadden, LLC
       312 Prospect Bay Drive East
       Grasonville, MD 21638
       (410) 490-1163
       jmcfadden@jmcfaddenlaw.com



       From: Jeffrey McFadden
       Sent: Tuesday, August 24, 2021 11:18 AM
       To: John Pierce <jpierce@piercebainbridge.com>
       Subject: Love v. Hogan, et al., Motion for Admission Pro Hac Vice

       Dear John,

       As you know, your office approached me on the basis of a referral from a Baltimore law firm to serve as
       your local counsel in the U.S. District Court for the District of Maryland in connection with your
       engagement by Mr. Arthur Love in litigation against the State of Maryland and other State officials. On
       August 10, 2021, your associate Ryan Marshall provided me with a proposed Summons and Complaint,
       which you and Ryan asked that I file on behalf of Mr. Love. You and Ryan also asked that I move your
       admission to appear pro hac vice in the case. Ryan informed me that I should direct my engagement
       letter to you and you would obtain necessary concurrences from Mr. Love for my work as his local
       counsel.

       Based on these representations, I filed the Summons and Complaint and commenced the action on
       August 11, 2021. I was not able to file the proposed Pro Hac Vice Motion that you and Ryan had
       originally provided me because it had you moving your own admission, which is not acceptable in this
       court. On August 11, 2021, I sent you and Ryan a form of motion that would be acceptable for use in the
       District of Maryland. On August 18, 2021, Ryan returned that motion to me for filing.



https://outlook.office.com/mail/inbox/id/AAMkADc3M2RkMTk4LTU1MmYtNGQwNS1iNmYyLWY1MjMzM2YxMzdkNQBGAAAAAADcbl%2FSQN3uTKp…   1/2
12/1/21, 11:59 AM                                         Mail - Jeffrey McFadden - Outlook
                     Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 12 of 40
       As you know, the Pro Hac Vice Motion requires me to represent to the Court that you have “never been
       disbarred, suspended, or denied admission to practice law in any jurisdiction.” To verify that
       representation, I undertook necessary due diligence. While I did not find records of disbarment,
       suspension, or denial of admission, surprisingly, I did find a series of reports regarding you and
       PierceBainbridge, some of which appear to be scurrilous attacks by litigation adversaries designed to
       injure your reputation. In particular, a publication calling itself Sunlight Reports appears to have devoted
       itself to attacking you and your firm.

       But beyond Sunlight, we have come across and have reviewed other pleadings or articles concerning two
       pending cases attacking in some way your character and ultimately resulting in a withdrawal of your pro
       hac vice motions.

       The first is an opposition made to your motion for admission pro hac vice in a case captioned Navaid
       Alam, et al. v. Kabir Ahmad, et al. filed in the Supreme Court of the State of New York, County of New
       York. I also saw that your local counsel in that case later filed a Notice of Withdrawal of your pro hac
       motion.

       The second matter concerns allegations made by the prosecutors in the Kyle Rittenhouse case in
       Wisconsin, which again appear ultimately to have led to your local counsel’s withdrawal of your pro hac
       vice motion.

       I have no basis on which to judge these allegations about you. But I am concerned -- indeed have little
       doubt -- that the lawyers representing the Maryland government defendants in the Love v. Hogan case
       will be aware of the withdrawals above and will oppose your Motion on the same or similar grounds,
       irrespective of the fact that I have held off on serving the defendants pending your and my resolution of
       these matters. I am also concerned that the court clerk or court personnel might find these allegations in
       connection with reviewing the pro hac motion. I believe inquiries from the Court would come to me as
       the sponsor of any motion that I file.

       In light of these developments, before I can proceed to file the Pro Hac Motion, I will need you to
       provide me a written rebuttal of the circumstances alleged in the matters described above. This is
       necessary for me to complete my due diligence. If we proceed, I need to be able to demonstrate to the
       court that I identified these issues and have assembled an appropriate, truthful, and convincing response.
        If you are unable to do this, I suggest you look to other local counsel.

       I realize we have an obligation to our client, so it is important that we commence this litigation without
       any impediment to proceeding.


       Sincerely yours,

       Jeff McFadden


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       (410) 490-1163
       jmcfadden@jmcfaddenlaw.com




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Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 13 of 40




                        EXHIBIT C
        Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 14 of 40



                             Law Offices of Jeffrey E. McFadden, LLC
                                       312 Prospect Bay Drive East
                                         Grasonville, MD 21638



Jeffrey E. McFadden
(410) 490-1163
jmcfadden@jmcfaddenlaw.com



                                               September 3, 2021



BY ELECTRONIC MAIL AND CERTIFIED MAIL, RETURN RECEIPT REQUESTED

John M. Pierce, Esq.
Ryan J. Marshall, Esq.
PierceBainbridge, P.C.
355 S. Grand Avenue, 44th Floor
Los Angeles, CA 90071

                Re:     Love v. Hogan, et al., 1:21-cv-02029 (RDB)

Dear John and Ryan:

       I hope this letter finds John on the road to a speedy recovery. As of today, I have not
received a response to the e-mail I sent to John on August 24 and forwarded to Ryan on August
30. A meaningful response is becoming all the more pressing given reports like the one below.
My fundamental concern is that Mr. Love's interests are not jeopardized or compromised.

       If I do not hear back from you by close of business next Tuesday, September 7, I will
contact Mr. Love to advise him of the situation and to gain an understanding of how he wants to
move forward. That, in turn, may require me to advise the court of the situation.

        I look forward to hearing from you.


                                                                     Very truly yours,




                                                                     Jeffrey E. McFadden
       Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 15 of 40




John Pierce's Capitol Riot Cases In
Peril As He Fights COVID
By Ryan Boysen
Law360 (September 2, 2021, 6:58 PM EDT) -- After a week of confusion that made
headlines nationwide and threatened to derail a swath of Jan. 6 Capitol riot cases, it
appears that conservative firebrand attorney John Pierce is in fact in the hospital with
COVID-19 and will soon be bringing on more lawyers to help with his immense caseload
while he recovers.


Pierce, who represents more defendants charged with storming the U.S. Capitol than any
other private attorney, has been incommunicado for more than a week amid conflicting
reports that he's been hospitalized with a severe illness.


That sudden absence has led to friction with his clients, exasperation from judges and
concern from the Department of Justice, which said in a filing on Monday that the situation
has ground Pierce's 16 Capitol riot cases to "a standstill."


On Thursday, a person who is close to Pierce and familiar with the situation confirmed to
Law360 that Pierce was in the hospital with a nasty case of COVID-19, but denied media
reports that he had been on a ventilator or non-responsive.


Separately, at two Capitol riot hearings on Thursday, a young associate who works with
Pierce told Judge Amit Mehta of the U.S. District Court for the District of Columbia that
Pierce was bringing on two more attorneys to help with those cases. The specifics of
Pierce's illness weren't discussed during the hearings.


That associate, Ryan Marshall, is facing felony charges for allegedly defrauding an elderly
woman and has not yet passed the bar exam, meaning that he can't act as a fully
authorized attorney on behalf of Pierce's clients. Nonetheless, Marshall has been appearing
for Pierce at a string of hearings over the past week with the blessing of the judges
involved, since no one else was available to do so.


The strange situation led Judge Mehta to approve the Department of Justice's request to
        Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 16 of 40



appoint an "advisory council" for Peter Schwartz, one of Pierce's Capitol riot clients, on
Thursday. At another hearing before Judge Mehta on Thursday, for fellow Jan. 6 defendant
and Pierce client Shane Jenkins, Judge Mehta kept a previously appointed public defender
in place until Pierce is well enough to appear.


At a third hearing on Thursday, a Capitol riot defendant who had previously been
represented by Pierce, Deborah Lee, told a magistrate judge that she was firing Pierce
because it was difficult to communicate with him while he has been hospitalized.


That brings the number of Capitol riot defendants represented by Pierce to 16, which is still
far more than any other private attorney. Even before Pierce's illness, some detractors said
it would be impossible for a single lawyer to effectively defend so many of those
complicated and potentially high-stakes cases.


The events of the past few days appeared to lend credence to those concerns, when
Pierce's absence caused so much chaos and confusion that on Monday the Department of
Justice finally called on judges to take "any steps" necessary if things aren't cleared up
soon.


It all began last week, on Tuesday, when Pierce missed a hearing for a Capitol riot client
due to what Marshall told the court was a "conflict." Later that same day, Marshall told
prosecutors that he'd just heard that Pierce had been rushed to the hospital after an
"accident." The next morning, Marshall reportedly told a judge at another hearing that
Pierce was "hospitalized with COVID-19, on a ventilator and non-responsive."


In a brief interview on Thursday, Marshall said he doesn't believe that he used those exact
words. The statement was taken out of context, he said, as he only meant to convey that he
hadn't been able to get ahold of Pierce.


Nonetheless, that statement kicked off frenzied speculation from many Capitol riot
watchers, as well as a round of headlines and Twitter posts gleefully mocking the
outspokenly anti-vaccine Pierce for contracting COVID-19.


Later that evening a friend of Pierce's, Brody Womack, released a statement that further
        Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 17 of 40



muddied the waters, saying Pierce was "suffering from dehydration and exhaustion,"
symptoms that "might be related to COVID-19."


The next morning, on Thursday, Marshall told a judge at yet another hearing that he was
receiving conflicting information about Pierce, who had been incommunicado for days at
that point.


At the same time, the wife of one of Pierce's Jan. 6 clients, Kenneth Harrelson, complained
in a fundraising email about how frustrating it was being unable to get ahold of Pierce for
the past few days.


Then on Monday, the Department of Justice finally weighed in, calling Pierce's weeklong
absence untenable in light of the fact that Marshall has not passed the bar and therefore
can't act as a licensed attorney on behalf of Pierce's clients.


"The United States thus finds itself in a position where [Pierce's Jan. 6 clients] appear to be
effectively without counsel," the DOJ wrote, adding that the cases are "at a standstill."


That filing, in turn, sparked a wave of headlines at many of the nation's largest news outlets,
leading to further speculation about what was happening and whether Pierce — who has
been known to occasionally disappear for days when he was struggling with substance
abuse issues several years ago — was lying about being sick with COVID-19.


Pierce himself did not respond to a request for comment on Thursday, and several people
close to him declined to comment on the record.


The events of this week are just the latest in a series of high-profile ups and downs for
Pierce over the past few years. He has boomeranged between various conservative causes
ever since his former law firm, Pierce Bainbridge Beck Price & Hecht LLP, collapsed in
stunning fashion roughly a year ago.


The $70 million debt left over from that collapse has continued to dog Pierce, leading critics
and even prosecutors to accuse him of trying to spin his conservative caseload into a
money machine by raking in crowdfunded donations.
       Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 18 of 40




Pierce went to Harvard Law School and for years was a respected litigator and up-and-
comer in the world of BigLaw, making partner at Quinn Emanuel Urquhart & Sullivan
LLP before jumping to Latham & Watkins LLP and then briefly holding a leadership role
at K&L Gates.


Personal problems and increasingly erratic behavior led Pierce to burn bridges with those
firms, however, according to interviews with several former colleagues, and in 2017 he set
up his own firm, which later became known as Pierce Bainbridge Beck Price & Hecht.


Pierce Bainbridge experienced explosive growth for more than a year, reaching roughly 70
attorneys on staff by mid-2019, before abruptly collapsing amid a raft of partner departures,
massive debt and a financial scandal, in which Pierce pledged his firm's future revenues to
multiple lenders. Pierce previously told Law360 that his own substance abuse issues had
also contributed to the collapse.


After attending rehab, Pierce vowed to rebuild in early 2020, and created a new firm known
simply as Pierce Bainbridge PC. Shortly thereafter, in the summer of 2020, he helped
launch the #FightBack Foundation alongside conservative firebrand attorney Lin Wood.


The #FightBack Foundation initially vowed to "take the far left to court for their abuses of
power," an apparent reference to defamation suits filed against it, but the organization
quickly shifted gears after Pierce began representing Kyle Rittenhouse just a few days after
it was founded.


Rittenhouse is accused of killing two men and wounding another in an August 2020
shooting at a Black Lives Matter protest in Kenosha, Wisconsin. Rittenhouse quickly
became a polarizing figure, with left-wing detractors labeling him a murderous vigilante and
right-wing supporters styling him as a Second Amendment icon who acted in self-defense.


Despite having no background as a criminal attorney, Pierce began representing
Rittenhouse and raising millions of dollars through #FightBack on the 17-year-old's behalf
before things fell apart.
        Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 19 of 40



The #FightBack Foundation managed to raise Rittenhouse's $2 million bail and free him
before trial, but Pierce parted ways with the organization as Wood began focusing more
intently on the presidential election last fall. In December, Pierce withdrew from
Rittenhouse's criminal case after prosecutors questioned the ethics of Pierce raising
millions for his client despite being deeply in debt himself. Then in February,
Rittenhouse fired Pierce altogether.


Rittenhouse's new attorneys now claim that Pierce's actions interfered with Rittenhouse's
criminal defense case and have accused Pierce of pocketing much of the money raised on
Rittenhouse's behalf.


Pierce has hotly disputed those claims.


After parting ways with #FightBack and Rittenhouse, Pierce began representing several
defendants accused of taking part in the Jan. 6 Capitol riot, in which hundreds of supporters
of President Donald Trump violently stormed the Capitol in Washington.


As part of that work, Pierce founded the National Constitutional Law Union in June, calling it
an alternative to the well-known American Civil Liberties Union, which Pierce claims has
"lost its way" by embracing "the radical left."


On Twitter, Pierce has leaned into several fringe theories while defending the Capitol riot
cases. He's been especially vocal about suggesting that his clients and the rest of the
defendants have been set up by the Federal Bureau of Investigation. That same theory has
been floated by Fox News host Tucker Carlson, who has previously invited Pierce on his
show to discuss the Rittenhouse case.


Pierce has vowed to seek security camera footage and other evidence from the government
that might bolster those FBI setup claims.


Some critics have questioned his approach, however. National security journalist Marcy
Wheeler, for example, recently wrote on her widely read blog that handling 17 Capitol riot
cases "would be an impossible feat even for the most experienced defense attorney, and
harder still for a civil attorney like Pierce."
       Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 20 of 40




--Editing by Karin Roberts.
Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 21 of 40




                        EXHIBIT D
12/1/21, 12:07 PM                                          Mail - Jeffrey McFadden - Outlook
                    Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 22 of 40

       Fw: Love v. Hogan, et al., 1:21-cv-02029 (RDB)
       Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       Wed 12/1/2021 11:59 AM
       To: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       From: John Pierce <jpierce@piercebainbridge.com>
       Sent: Tuesday, September 7, 2021 3:13 PM
       To: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>; Ryan Marshall <rmarshall@piercebainbridge.com>
       Subject: Re: Love v. Hogan, et al., 1:21-cv-02029 (RDB)

       Hi Jeff. I went into the hospital for 12 days literally the morning you sent your email (I believe it was
       the same day). Sorry for the delay in responding. Those two cases should not be a concern for anyone.
       In Rittenhouse, although I created the FightBack Foundation with Lin Wood last summer, I resigned
       from the board months before the prosecutors’ motion and had no knowledge or control of its
       finances. The motion was filed by extremely unethical prosecutors and was designed to dirty up me
       and Kyle publicly. But so far as I know there was nothing wrong, illegal or unethical about FightBack.
       Indeed, it was responsible (along with my fundraising efforts and media appearances) for raising over
       $2M cash to bail out someone being charged with multiple counts of homicide. I count that as one of
       the greatest accomplishments of my career. I withdrew before the court could rule on it to avoid more
       distraction for Kyle and because I had completed my task of building a great Wisconsin criminal
       defense team.

       On the Navaid Alam case, that was all driven by the same former disgruntled employee Don Lewis
       (who I fired for failing to cooperate with a sex assault investigation) who spends 24 hours a day writing
       nonsense about me on Sunlight-Reports. His lawyer was the same lawyer for the opposing party in
       that case, Neal Brickman, before I succeeded in getting Brickman disqualified. I withdrew because the
       client decided to go with a couple of my former partners who formed their own firm.

       That was kind of a quick explanation because I am scrambling to catch up on things, but please let me
       know if you have more specific questions or we can always discuss on phone now that I am out of
       hospital.

       My cell is (213) 400-0725.

       John

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Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 23 of 40




                        EXHIBIT E
        Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 24 of 40



                             Law Offices of Jeffrey E. McFadden, LLC
                                       312 Prospect Bay Drive East
                                         Grasonville, MD 21638



Jeffrey E. McFadden
(410) 490-1163
jmcfadden@jmcfaddenlaw.com



                                               September 20, 2021


BY ELECTRONIC MAIL AND CERTIFIED MAIL, RETURN RECEIPT REQUESTED

John M. Pierce, Esq.
Ryan J. Marshall, Esq.
PierceBainbridge, P.C.
355 S. Grand Avenue, 44th Floor
Los Angeles, CA 90071

                Re:     Love v. Hogan, et al., 1:21-cv-02029 (RDB)

Dear John and Ryan:

        I have reviewed John’s e-mail response to my letter of September 3 and have continued
to follow press reports regarding John’s recovery and issues that continue to linger as to a
number of John’s cases. The continuing controversy surrounding the status of your firm and its
lawyers has caused me to conclude that I cannot or should not make the required representations
to the court necessary to proceed with this case. Thus, I must advise you that I am withdrawing
as local counsel in this case and, for the benefit of the client, ask that you find and substitute in
new local counsel. Of course, I will be happy to work with your new local counsel in getting the
notice of substitution on file.

       Should you be unable to substitute in new local counsel, I will move the court to
withdraw.

        I wish you both good luck with the case and with your future endeavors.

                                                                     Very truly yours,




                                                                     Jeffrey E. McFadden
Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 25 of 40




                        EXHIBIT F
12/1/21, 12:15 PM                                          Mail - Jeffrey McFadden - Outlook
                    Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 26 of 40

       Fw: Love v. Hogan, et al., 1:21-cv-02029 (RDB)
       Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       Wed 12/1/2021 12:08 PM
       To: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>


       From: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       Sent: Thursday, September 23, 2021 2:29 PM
       To: Ryan Marshall <rmarshall@piercebainbridge.com>; John Pierce <jpierce@piercebainbridge.com>
       Subject: Re: Love v. Hogan, et al., 1:21-cv-02029 (RDB)

       Dear John and Ryan,

       I am writing to follow up on my letter to you of September 20. I have received two voice messages from
       Mr. Love, one of which I received today. It is clear from today's message that he is not aware of my
       intention to withdraw, and I ask that you please advise him of that promptly. If I do not hear back from
       you in the next few days that you have done so, I will let him know myself in very general terms and will
       ask him to contact you.

       I want to remind you also that I have not served the summonses and complaint on any party and that,
       pursuant to FRCP 4(m), service must be effected within 120 days of the filing of the complaint.

       Sincerely yours,


       Jeff

       Jeffrey E. McFadden
       Law Offices of Jeffrey E. McFadden, LLC
       312 Prospect Bay Drive East
       Grasonville, MD 21638
       (410) 490-1163
       jmcfadden@jmcfaddenlaw.com




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Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 27 of 40




                        EXHIBIT G
12/1/21, 12:18 PM                                          Mail - Jeffrey McFadden - Outlook
                    Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 28 of 40

       Fw: Love v. Hogan, et al., 1:21-cv-02029 (RDB)
       Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       Wed 12/1/2021 12:11 PM
       To: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       From: John Pierce <jpierce@piercebainbridge.com>
       Sent: Thursday, September 23, 2021 2:40 PM
       To: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>; Ryan Marshall <rmarshall@piercebainbridge.com>
       Subject: Re: Love v. Hogan, et al., 1:21-cv-02029 (RDB)

       Thanks Jeff. RM can you please handle and I will work on finding new local counsel.

       Get Outlook for iOS

       From: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       Sent: Thursday, September 23, 2021 11:29:36 AM
       To: Ryan Marshall <rmarshall@piercebainbridge.com>; John Pierce <jpierce@piercebainbridge.com>
       Subject: Re: Love v. Hogan, et al., 1:21-cv-02029 (RDB)

       Dear John and Ryan,

       I am writing to follow up on my letter to you of September 20. I have received two voice messages from
       Mr. Love, one of which I received today. It is clear from today's message that he is not aware of my
       intention to withdraw, and I ask that you please advise him of that promptly. If I do not hear back from
       you in the next few days that you have done so, I will let him know myself in very general terms and will
       ask him to contact you.

       I want to remind you also that I have not served the summonses and complaint on any party and that,
       pursuant to FRCP 4(m), service must be effected within 120 days of the filing of the complaint.

       Sincerely yours,


       Jeff

       Jeffrey E. McFadden
       Law Offices of Jeffrey E. McFadden, LLC
       312 Prospect Bay Drive East
       Grasonville, MD 21638
       (410) 490-1163
       jmcfadden@jmcfaddenlaw.com




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Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 29 of 40




                        EXHIBIT H
12/1/21, 12:23 PM                                          Mail - Jeffrey McFadden - Outlook
                    Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 30 of 40

       Fw: Love v. Hogan, et al., 1:21-cv-02029 (RDB)
       Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       Wed 12/1/2021 12:16 PM
       To: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       From: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       Sent: Sunday, October 24, 2021 3:18 PM
       To: John Pierce <jpierce@piercebainbridge.com>; Ryan Marshall <rmarshall@piercebainbridge.com>
       Subject: Re: Love v. Hogan, et al., 1:21-cv-02029 (RDB)

       Gents,

       Where are we on this?

       Regards.


       Jeff

       Jeffrey E. McFadden
       Law Offices of Jeffrey E. McFadden, LLC
       312 Prospect Bay Drive East
       Grasonville, MD 21638
       (410) 490-1163
       jmcfadden@jmcfaddenlaw.com




       From: John Pierce <jpierce@piercebainbridge.com>
       Sent: Thursday, September 23, 2021 2:40 PM
       To: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>; Ryan Marshall <rmarshall@piercebainbridge.com>
       Subject: Re: Love v. Hogan, et al., 1:21-cv-02029 (RDB)

       Thanks Jeff. RM can you please handle and I will work on finding new local counsel.

       Get Outlook for iOS

       From: Jeffrey McFadden <jmcfadden@jmcfaddenlaw.com>
       Sent: Thursday, September 23, 2021 11:29:36 AM
       To: Ryan Marshall <rmarshall@piercebainbridge.com>; John Pierce <jpierce@piercebainbridge.com>
       Subject: Re: Love v. Hogan, et al., 1:21-cv-02029 (RDB)

       Dear John and Ryan,

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       Mr. Love, one of which I received today. It is clear from today's message that he is not aware of my
       intention to withdraw, and I ask that you please advise him of that promptly. If I do not hear back from
       you in the next few days that you have done so, I will let him know myself in very general terms and will
       ask him to contact you.
https://outlook.office.com/mail/inbox/id/AAMkADc3M2RkMTk4LTU1MmYtNGQwNS1iNmYyLWY1MjMzM2YxMzdkNQBGAAAAAADcbl%2FSQN3uTKp…   1/2
12/1/21, 12:23 PM                                          Mail - Jeffrey McFadden - Outlook
                    Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 31 of 40

       I want to remind you also that I have not served the summonses and complaint on any party and that,
       pursuant to FRCP 4(m), service must be effected within 120 days of the filing of the complaint.

       Sincerely yours,


       Jeff

       Jeffrey E. McFadden
       Law Offices of Jeffrey E. McFadden, LLC
       312 Prospect Bay Drive East
       Grasonville, MD 21638
       (410) 490-1163
       jmcfadden@jmcfaddenlaw.com




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Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 32 of 40




                        EXHIBIT I
        Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 33 of 40



                             Law Offices of Jeffrey E. McFadden, LLC
                                       312 Prospect Bay Drive East
                                         Grasonville, MD 21638



Jeffrey E. McFadden
(410) 490-1163
jmcfadden@jmcfaddenlaw.com



                                               November 17, 2021



BY CERTIFIED MAIL, RETURN RECEIPT REQUESTED

Arthur M. Love
2064 Lake Grove Lane
Crofton, MD 21114

                Re:     Love v. Hogan, et al., 1:21-cv-02029 (RDB)

Dear Mr. Love:

        As you may recall, I have been serving as local counsel in the above-referenced case. As
you may or may not know, in a letter dated September 20, 2021, I advised John Pierce and Ryan
Marshall that I was withdrawing as local counsel and asked them to find and substitute-in new
local counsel. In an e-mail dated September 23, 2021, Mr. Pierce asked Mr. Marshall to advise
you of my withdrawal and represented to me that he would work on finding new local counsel.

        By e-mail dated October 24, 2021, I inquired of both Mr. Pierce and Mr. Marshall as to
the status of substituting in new local counsel. As of the date of this letter, they have not
responded.

        Thus, this letter shall constitute formal notice to you, pursuant to Local Rule 101.2.a) of
the U.S. District Court for the District of Maryland that I intend to file a motion on Monday,
November 29, 2021 in the above-referenced case to withdraw as your local counsel. Unless Mr.
Pierce substitutes in new local counsel before that date, I will advise the Clerk of the court in my
motion that you will be proceeding without admitted local counsel.

       Finally, please be advised that the defendants in the above-referenced case have not been
served with a summons and complaint, and that if they are not served within one hundred and
twenty (120) days from August 11, 2021, the date the complaint was filed, the court may, on its
own initiative, dismiss the case. I have already made Messrs. Pierce and Marshall aware of this
deadline.
       Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 34 of 40



                                               Very truly yours,




                                               Jeffrey E. McFadden



cc (by e-mail):   John Pierce, Esq.
                  Ryan Marshall, Esq.
       Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 35 of 40




John Pierce's Capitol Riot Cases In
Peril As He Fights COVID
By Ryan Boysen
Law360 (September 2, 2021, 6:58 PM EDT) -- After a week of confusion that made
headlines nationwide and threatened to derail a swath of Jan. 6 Capitol riot cases, it
appears that conservative firebrand attorney John Pierce is in fact in the hospital with
COVID-19 and will soon be bringing on more lawyers to help with his immense caseload
while he recovers.


Pierce, who represents more defendants charged with storming the U.S. Capitol than any
other private attorney, has been incommunicado for more than a week amid conflicting
reports that he's been hospitalized with a severe illness.


That sudden absence has led to friction with his clients, exasperation from judges and
concern from the Department of Justice, which said in a filing on Monday that the situation
has ground Pierce's 16 Capitol riot cases to "a standstill."


On Thursday, a person who is close to Pierce and familiar with the situation confirmed to
Law360 that Pierce was in the hospital with a nasty case of COVID-19, but denied media
reports that he had been on a ventilator or non-responsive.


Separately, at two Capitol riot hearings on Thursday, a young associate who works with
Pierce told Judge Amit Mehta of the U.S. District Court for the District of Columbia that
Pierce was bringing on two more attorneys to help with those cases. The specifics of
Pierce's illness weren't discussed during the hearings.


That associate, Ryan Marshall, is facing felony charges for allegedly defrauding an elderly
woman and has not yet passed the bar exam, meaning that he can't act as a fully
authorized attorney on behalf of Pierce's clients. Nonetheless, Marshall has been appearing
for Pierce at a string of hearings over the past week with the blessing of the judges
involved, since no one else was available to do so.


The strange situation led Judge Mehta to approve the Department of Justice's request to
        Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 36 of 40



appoint an "advisory council" for Peter Schwartz, one of Pierce's Capitol riot clients, on
Thursday. At another hearing before Judge Mehta on Thursday, for fellow Jan. 6 defendant
and Pierce client Shane Jenkins, Judge Mehta kept a previously appointed public defender
in place until Pierce is well enough to appear.


At a third hearing on Thursday, a Capitol riot defendant who had previously been
represented by Pierce, Deborah Lee, told a magistrate judge that she was firing Pierce
because it was difficult to communicate with him while he has been hospitalized.


That brings the number of Capitol riot defendants represented by Pierce to 16, which is still
far more than any other private attorney. Even before Pierce's illness, some detractors said
it would be impossible for a single lawyer to effectively defend so many of those
complicated and potentially high-stakes cases.


The events of the past few days appeared to lend credence to those concerns, when
Pierce's absence caused so much chaos and confusion that on Monday the Department of
Justice finally called on judges to take "any steps" necessary if things aren't cleared up
soon.


It all began last week, on Tuesday, when Pierce missed a hearing for a Capitol riot client
due to what Marshall told the court was a "conflict." Later that same day, Marshall told
prosecutors that he'd just heard that Pierce had been rushed to the hospital after an
"accident." The next morning, Marshall reportedly told a judge at another hearing that
Pierce was "hospitalized with COVID-19, on a ventilator and non-responsive."


In a brief interview on Thursday, Marshall said he doesn't believe that he used those exact
words. The statement was taken out of context, he said, as he only meant to convey that he
hadn't been able to get ahold of Pierce.


Nonetheless, that statement kicked off frenzied speculation from many Capitol riot
watchers, as well as a round of headlines and Twitter posts gleefully mocking the
outspokenly anti-vaccine Pierce for contracting COVID-19.


Later that evening a friend of Pierce's, Brody Womack, released a statement that further
        Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 37 of 40



muddied the waters, saying Pierce was "suffering from dehydration and exhaustion,"
symptoms that "might be related to COVID-19."


The next morning, on Thursday, Marshall told a judge at yet another hearing that he was
receiving conflicting information about Pierce, who had been incommunicado for days at
that point.


At the same time, the wife of one of Pierce's Jan. 6 clients, Kenneth Harrelson, complained
in a fundraising email about how frustrating it was being unable to get ahold of Pierce for
the past few days.


Then on Monday, the Department of Justice finally weighed in, calling Pierce's weeklong
absence untenable in light of the fact that Marshall has not passed the bar and therefore
can't act as a licensed attorney on behalf of Pierce's clients.


"The United States thus finds itself in a position where [Pierce's Jan. 6 clients] appear to be
effectively without counsel," the DOJ wrote, adding that the cases are "at a standstill."


That filing, in turn, sparked a wave of headlines at many of the nation's largest news outlets,
leading to further speculation about what was happening and whether Pierce — who has
been known to occasionally disappear for days when he was struggling with substance
abuse issues several years ago — was lying about being sick with COVID-19.


Pierce himself did not respond to a request for comment on Thursday, and several people
close to him declined to comment on the record.


The events of this week are just the latest in a series of high-profile ups and downs for
Pierce over the past few years. He has boomeranged between various conservative causes
ever since his former law firm, Pierce Bainbridge Beck Price & Hecht LLP, collapsed in
stunning fashion roughly a year ago.


The $70 million debt left over from that collapse has continued to dog Pierce, leading critics
and even prosecutors to accuse him of trying to spin his conservative caseload into a
money machine by raking in crowdfunded donations.
       Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 38 of 40




Pierce went to Harvard Law School and for years was a respected litigator and up-and-
comer in the world of BigLaw, making partner at Quinn Emanuel Urquhart & Sullivan
LLP before jumping to Latham & Watkins LLP and then briefly holding a leadership role
at K&L Gates.


Personal problems and increasingly erratic behavior led Pierce to burn bridges with those
firms, however, according to interviews with several former colleagues, and in 2017 he set
up his own firm, which later became known as Pierce Bainbridge Beck Price & Hecht.


Pierce Bainbridge experienced explosive growth for more than a year, reaching roughly 70
attorneys on staff by mid-2019, before abruptly collapsing amid a raft of partner departures,
massive debt and a financial scandal, in which Pierce pledged his firm's future revenues to
multiple lenders. Pierce previously told Law360 that his own substance abuse issues had
also contributed to the collapse.


After attending rehab, Pierce vowed to rebuild in early 2020, and created a new firm known
simply as Pierce Bainbridge PC. Shortly thereafter, in the summer of 2020, he helped
launch the #FightBack Foundation alongside conservative firebrand attorney Lin Wood.


The #FightBack Foundation initially vowed to "take the far left to court for their abuses of
power," an apparent reference to defamation suits filed against it, but the organization
quickly shifted gears after Pierce began representing Kyle Rittenhouse just a few days after
it was founded.


Rittenhouse is accused of killing two men and wounding another in an August 2020
shooting at a Black Lives Matter protest in Kenosha, Wisconsin. Rittenhouse quickly
became a polarizing figure, with left-wing detractors labeling him a murderous vigilante and
right-wing supporters styling him as a Second Amendment icon who acted in self-defense.


Despite having no background as a criminal attorney, Pierce began representing
Rittenhouse and raising millions of dollars through #FightBack on the 17-year-old's behalf
before things fell apart.
        Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 39 of 40



The #FightBack Foundation managed to raise Rittenhouse's $2 million bail and free him
before trial, but Pierce parted ways with the organization as Wood began focusing more
intently on the presidential election last fall. In December, Pierce withdrew from
Rittenhouse's criminal case after prosecutors questioned the ethics of Pierce raising
millions for his client despite being deeply in debt himself. Then in February,
Rittenhouse fired Pierce altogether.


Rittenhouse's new attorneys now claim that Pierce's actions interfered with Rittenhouse's
criminal defense case and have accused Pierce of pocketing much of the money raised on
Rittenhouse's behalf.


Pierce has hotly disputed those claims.


After parting ways with #FightBack and Rittenhouse, Pierce began representing several
defendants accused of taking part in the Jan. 6 Capitol riot, in which hundreds of supporters
of President Donald Trump violently stormed the Capitol in Washington.


As part of that work, Pierce founded the National Constitutional Law Union in June, calling it
an alternative to the well-known American Civil Liberties Union, which Pierce claims has
"lost its way" by embracing "the radical left."


On Twitter, Pierce has leaned into several fringe theories while defending the Capitol riot
cases. He's been especially vocal about suggesting that his clients and the rest of the
defendants have been set up by the Federal Bureau of Investigation. That same theory has
been floated by Fox News host Tucker Carlson, who has previously invited Pierce on his
show to discuss the Rittenhouse case.


Pierce has vowed to seek security camera footage and other evidence from the government
that might bolster those FBI setup claims.


Some critics have questioned his approach, however. National security journalist Marcy
Wheeler, for example, recently wrote on her widely read blog that handling 17 Capitol riot
cases "would be an impossible feat even for the most experienced defense attorney, and
harder still for a civil attorney like Pierce."
       Case 1:21-cv-02029-RDB Document 3-2 Filed 12/01/21 Page 40 of 40




--Editing by Karin Roberts.
